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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                   CAMDEN VICINAGE


                                                   :   Case No. 08-14631 (GMB)
    In re:                                         :   (Jointly Administered)
                                                   :
    Shapes/Arch Holdings L.L.C., et al.            :   Chapter 11
                                                   :
                             Debtors.              :
                                                   :


                      APPLICATION FOR THE ADMISSION OF
                 NANCY A. MITCHELL, ESQUIRE TO BE ADMITTED
              PRO HAC VICE AS COUNSEL TO ARCH ACQUISITION I, LLC

                       PLEASE TAKE NOTICE that the undersigned, as counsel for Arch

    Acquisition I, LLC (“Arch”), a party-in-interest in this case, has applied to this Court for

    an Order requesting the admission of Nancy A. Mitchell, Esquire, a member of the bar of

    the State of Illinois and the State of New York, pro hac vice, pursuant to D.N.J. LBR

    2090-1 and Local Civil Rule 101.1(c) of the United States District Court for the District

    of New Jersey; and

                       PLEASE TAKE FURTHER NOTICE that the undersigned shall rely, in

    support of this application, upon the Affidavit of Nancy A. Mitchell, the Certification of




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    Diane E. Vuocolo in Support Of Application To Admit Nancy A. Mitchell, Esquire To

    This Court Pro Hac Vice for Arch Acquisition I, LLC Pursuant to District Court Rule

    101.1(c) and a proposed form of Order submitted herewith.

                       Oral argument is not requested unless this application is contested.

    Dated: April 9, 2008
                                                     GREENBERG TRAURIG, LLP
                                                     Counsel for Arch Acquisition I, LLC


                                                     By: /s/ Diane E. Vuocolo
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